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 1    Peter Sean Bradley, CA Bar #109258                                 (SPACE BELOW FOR FILING STAMP ONLY)

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 4
     Attorneys for Defendants BIOWORLD USA, INC.
 5   DONALD DAMSCHEN, DIANE BARNES
 6
                              UNITED STATES DISTRICT COURT
 7
               EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
 8

 9
     ADVANCED BIOTECH, LLC, a                  )            Case No.: 1:19-cv-01215-LJO-SKO
10   California Limited Liability Company, and )
     DALE BARNES, a California individual, )                DECLARATION OF PETER SEAN
11                                             )            BRADLEY IN SUPPORT OF
                          Plaintiff,           )            OPPOSITION TO MOTION TO
12                                             )            DISMISS COUNTERCLAIM
            v.                                 )
13                                             )            Date: January 26, 2021
14
     BIOWORLD USA, INC., a California          )            Time: 9:30 a.m.
     corporation; DONALD DAMSCHEN, a )                      Dept.: 5
15   California individual, and DIANE          )
     BARNES, a California individual,                       Hon. Dale A. Drozd
16                                                          Hon. Sheila K. Oberto
                         Defendants.
17

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21         I, Peter Sean Bradley, declare:
22             1. I am an attorney at law, licensed to practice law in the state and federal courts
23                of California. I represent defendants in the present case. I know the facts
24                contained herein of my personal knowledge and I am competent to testify.
25             2. Attached hereto as Exhibit A is a true and correct of an Assignment of
26                Intellectual Property Rights from Phillip Barnes to BioWorld USA, Inc.
27

28

                         Declaration of Peter Sean Bradley ISO Opposition to Motion to Dismiss

                                                          -1-
     Case 1:19-cv-01215-JLT-SKO Document 31-1 Filed 01/12/21 Page 2 of 5



 1          I declare under penalty of perjury under the laws of the United States that the
 2   foregoing is true and correct and that this declaration was executed on January 12, 2021 in
 3   Fresno, California.
 4


                                                      Peter Sean Bradley
 5

 6                                            ___________________________
 7                                                     Peter Sean Bradley
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                           Declaration of Peter Sean Bradley ISO Opposition to Motion to Dismiss

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                        EXHIBIT A
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                                 ASSIGNMENT OF INTELLECTUAL PROPERTY RIGHTS



                                                     between



                                              P H I L LI P BARNES and



                                              BIOWORLD USA, INC.



THIS AGREEMENT is dated January 12, 2021.



PARTIES




(1)      P h i l l i p Barnes (Assignor).



(2)      BioWorld USA, Inc. (Assignee).



BACKGROUND




The Assignor has agreed to assign to the Assignee all intellectual property rights and other rights,


i n cl u d i n g trademark rights, common law trademark rights, good will and any other item of intellectual

property pertaining to the trademark or business of "BioWorld" and/or "BioWorld Products" and/or


BioWorld Products, LLC and/or BioWorld Products, Inc (hereinafter "Assigned Rights.")



AGREED TERMS




1.       INTERPRETATION




The definitions and rules of interpretation in this clause apply in this agreement.



Intellectual Property Rights: patents, rights to inventions, copyright and related rights, trademarks,


including common law trademark rights, business names and domain names, rights in get-up, goodwill


and the right to sue for passing off, rights in designs, database rights, rights to use, and protect the


confidentiality of, confidential information ( i n cl u d i n g know-how and trade secrets) and all other

intellectual property rights, in each case whether registered or unregistered and including all


applications and rights to apply for and be granted, renewals or extensions of, and rights to claim


priority from, such rights and all similar or equivalent rights or forms of protection which subsist or will

subsist now or in the future in any part of the world.



2.      ASSIGNMENT




In consideration of the payment of $1, receipt of which is hereby acknowledged, the Assignor hereby

assigns to the Assignee absolutely with full title guarantee a l l its right, title and interest in and to the

Assigned Rights.



3.      FURTHER ASSURANCE




3.1     The Assignor shall perform (or procure the performance of) all further acts and things and


execute and deliver (or procure the execution or delivery of) all further documents, required by law or

which the Assignee requests, to vest in the Assignee the full benefit of the right, title and interest

assigned to the Assignee under this agreement.
      Case 1:19-cv-01215-JLT-SKO Document 31-1 Filed 01/12/21 Page 5 of 5



3.2     The Assignor appoints the Assignee to be its attorney in its name and on its behalf to execute

documents, use the Assignor's name and do all things which are necessary or desirable for the Assignee

to obtain for itself or its nominee the full benefit of clause 3.1.



4.      GOVERNING LAW AND JURISDICTION



This agreement and any dispute or claim arising out of or in connection with it or its subject matter or

formation (including non-contractual disputes or claims) shall be governed by and construed in

accordance with the law of California and the parties agree that the courts of California shall have

exclusive jurisdiction to settle any dispute or claim that arises out of or in connection with this

agreement.



This document takes effect on the date stated at the beginning of it.



The parties hereto stipulate and agree to this agreement.




Dated: January 12, 2021                    [i            S-
                                           Phillip Barnes (Assignor)




Dated: January   [z
                  ,   2021                 BioWorld USA, Inc. (Assignee)




                                           By: Chief Executive Officer
